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                                         Hearing Date: January 14, 2025, at 2:00 p.m. (prevailing Eastern Time)
                                      Response Deadline: January 7, 2025, at 4:00 p.m. (prevailing Eastern Time)

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Co-Counsel to Mohsin Y. Meghji as Litigation Administrator

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    CELSIUS NETWORK LLC, et al.,1                               )        Case No. 22-10964 (MG)
                                                                )
                     Post-Effective Date Debtors.               )        (Jointly Administered)
                                                                )




1     The Post-Effective Date Debtors in these chapter 11 cases (the “Chapter 11 Cases”), along with the last four digits
      of each Post-Effective Date Debtor’s federal tax identification number, are: Celsius Network LLC (2148); Celsius
      KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius Mining LLC (1387); Celsius Network Inc. (1219);
      Celsius Network Limited (8554); Celsius Networks Lending LLC (3390); Celsius US Holding LLC (7956); GK8
      Ltd. (1209); GK8 UK Limited (0893); and GK8 USA LLC (9450). The location of Post-Effective Date Debtor
      Celsius Network LLC’s principal place of business and the Post-Effective Date Debtors’ service address in these
      Chapter 11 Cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.
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     NOTICE OF HEARING ON THE LITIGATION ADMINISTRATOR’S NINTH
           OMNIBUS OBJECTION TO CERTAIN PROOFS OF CLAIM
                        (NO LIABILITY CLAIMS)

         PLEASE TAKE NOTICE that a hearing on The Litigation Administrator’s Ninth

Omnibus Objection to Certain Proofs of Claim (No Liability Claims) (the “Objection”) will be

held on January 14, 2025, at 2:00 p.m., prevailing Eastern Time (the “Hearing”) before the

Honorable Martin Glenn, Chief United States Bankruptcy Judge (the “Court”).

         PLEASE TAKE FURTHER NOTICE that the Hearing will be in a hybrid fashion both

in person and via Zoom for Government before the Honorable Martin Glenn, Chief United States

Bankruptcy Judge, in Courtroom No. 523, located at One Bowling Green, New York, New York

10004-1408. Those wishing to participate in the Hearing may appear before the Honorable Martin

Glenn, Chief United States Bankruptcy Judge, in Courtroom No. 523, located at One Bowling

Green, New York, New York 10004-1408. Parties wishing to appear at the Hearing by Zoom,

whether by making a “live” or “listen only” appearance before the Court, must register an

electronic appearance (an “eCourtAppearance”) through the Court’s Electronic Appearance portal

located on the Court’s website at: http://www.nysb.uscourts.gov/ecourt-appearances. Electronic

appearances (eCourtAppearances) must be entered no later than 4:00 p.m., the business day

before the Hearing (prevailing Eastern Time) (i.e., on January 13, 2025). This Hearing is not

expected to involve the taking of testimony (a “Non-Testimonial Hearing”).

         PLEASE TAKE FURTHER NOTICE that, with the permission of the Court, the public,

including members of the media, may dial-in to Non-Testimonial Hearings remotely using the

audio platform made available by the Court. Any person or entity that is permitted to dial-in to

the Hearing by using the audio platform must register its appearance in the Electronic Appearance

portal    located     on   the    Court’s   website   at:   http://www.nysb.uscourts.gov/ecourt-



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appearances. Appearances must be entered no later than 4:00 p.m., the business day before the

Hearing (prevailing Eastern Time) (i.e., on January 13, 2025).

       PLEASE TAKE FURTHER NOTICE that due to the large number of expected

participants in the Hearing and the Court’s security requirements for participating in a Zoom for

Government audio and video hearing, all persons seeking to attend the Hearing remotely at 2:00

p.m., prevailing Eastern Time on January 14, 2025, must connect to the Hearing beginning at 1:00

p.m., prevailing Eastern Time on January 14, 2025. When parties sign in to Zoom for Government

and add their names, they must type in the first and last name that will be used to identify them at

the Hearing. Parties that type in only their first name, a nickname, or initials will not be admitted

into the Hearing. When seeking to connect for either audio or video participation in a Zoom for

Government Hearing, you will first enter a “Waiting Room” in the order in which you seek to

connect. Court personnel will admit each person to the Hearing from the Waiting Room after

confirming the person’s name (and telephone number, if a telephone is used to connect) with their

eCourtAppearance. Because of the large number of expected participants, you may experience a

delay in the Waiting Room before you are admitted to the Hearing.

       PLEASE TAKE FURTHER NOTICE that any responses to the relief requested in the

Objection shall: (a) be in writing; (b) conform to the Federal Rules of Bankruptcy Procedure, the

Local Bankruptcy Rules for the Southern District of New York, and all General Orders applicable

to chapter 11 cases in the United States Bankruptcy Court for the Southern District of New York;

(c) be filed electronically with the Court on the docket of In re Celsius Network LLC, No. 22-

10964 (MG) by registered users of the Court’s electronic filing system and in accordance with all

General Orders applicable to chapter 11 cases in the United States Bankruptcy Court for the

Southern District of New York (which are available on the Court’s website at



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http://www.nysb.uscourts.gov); (d) be filed in accordance with the Order (I) Approving

(A) Omnibus Claims Objection Procedures, (B) Omnibus Substantive Claims Objections and

Form of Notice, and (C) Satisfaction Procedures and Form of Notice and (II) Modifying

Bankruptcy Rule 3007(e)(6) [Docket No. 2090] (the “Objection Procedures Order”); and (e) be

served in accordance with the Objection Procedures Order by January 7, 2025, at 4:00 p.m.,

prevailing Eastern Time (the “Response Deadline”), to (i) Mohsin Y. Meghji, in his capacity as

Litigation Administrator of Celsius Network LLC and its affiliated Post-Effective Date Debtors

(the “Litigation Administrator”), (ii) the Post-Effective Date Debtors, and (iii) the United States

Trustee for the Southern District of New York with a copy to the Court’s chambers.

       PLEASE TAKE FURTHER NOTICE that only those responses that are timely filed,

served, and received will be considered at the Hearing. Failure to file a timely response by the

Response Deadline may result in entry of a final order sustaining the Objection as requested by

the Litigation Administrator.

       PLEASE TAKE FURTHER NOTICE that the Litigation Administrator reserves the

right to seek an adjournment of the Hearing on any response to this Objection, which adjournment

will be noted on the notice of agenda for the Hearing. The agenda will be served on the person

designated by the claimant in its response.

       PLEASE TAKE FURTHER NOTICE that copies of all pleadings filed in these Chapter

11 Cases may be obtained free of charge by visiting the website of Stretto at

https://cases.stretto.com/Celsius. You may also obtain copies of all pleadings filed in these

Chapter 11 Cases by visiting the Court’s website at http://www.nysb.uscourts.gov in accordance

with the procedures and fees set forth therein.


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New York, New York
Dated: December 3, 2024

                                             /s/ Seth H. Lieberman
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                                         Hearing Date: January 14, 2025, at 2:00 p.m. (prevailing Eastern Time)
                                      Response Deadline: January 7, 2025, at 4:00 p.m. (prevailing Eastern Time)

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                                                                     laura.baccash@whitecase.com

Co-Counsel to Mohsin Y. Meghji as Litigation Administrator

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    CELSIUS NETWORK LLC, et al.,1                               )        Case No. 22-10964 (MG)
                                                                )
                     Post-Effective Date Debtors.               )        (Jointly Administered)
                                                                )




1     The Post-Effective Date Debtors in these chapter 11 cases (the “Chapter 11 Cases”), along with the last four digits
      of each Post-Effective Date Debtor’s federal tax identification number, are: Celsius Network LLC (2148); Celsius
      KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius Mining LLC (1387); Celsius Network Inc. (1219);
      Celsius Network Limited (8554); Celsius Networks Lending LLC (3390); Celsius US Holding LLC (7956); GK8
      Ltd. (1209); GK8 UK Limited (0893); and GK8 USA LLC (9450). The location of Post-Effective Date Debtor
      Celsius Network LLC’s principal place of business and the Post-Effective Date Debtors’ service address in these
      Chapter 11 Cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.
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     THE LITIGATION ADMINISTRATOR’S NINTH OMNIBUS OBJECTION TO
            CERTAIN PROOFS OF CLAIM (NO LIABILITY CLAIMS)

YOU SHOULD LOCATE YOUR NAME AND YOUR CLAIM(S) ON THE SCHEDULE
ATTACHED TO EXHIBIT A HERETO. PLEASE TAKE NOTICE THAT YOUR
CLAIM(S) MAY BE DISALLOWED, EXPUNGED, RECLASSIFIED, REDUCED,
MODIFIED, OR OTHERWISE AFFECTED AS A RESULT OF THIS OBJECTION.
THEREFORE, PLEASE READ THIS NOTICE AND THE ACCOMPANYING
OBJECTION VERY CAREFULLY AND DISCUSS THEM WITH YOUR ATTORNEY.
IF YOU DO NOT HAVE AN ATTORNEY, YOU MAY WISH TO CONSULT ONE.
        Mohsin Y. Meghji, in his capacity as Litigation Administrator (the “Litigation

Administrator”) of the above-captioned post-effective date debtors (prior to the Effective Date of

the Plan, the “Debtors,” and after the Effective Date, the “Post-Effective Date Debtors,” as
                                                                                                       2
applicable), respectfully states as follows in support of this objection (the “Objection”):

                                              Relief Requested

        1.       By this ninth omnibus Objection, the Litigation Administrator seeks entry of an

order, substantially in the form attached hereto as Exhibit A (the “Proposed Order”) disallowing

and expunging the claims identified on Schedule 1 to Exhibit A (collectively, the “No Liability

Claims”) because the Litigation Administrator has determined based on the Debtors’ Books and

Records (defined below) that the Debtors do not have any liability with respect to each proof of

claim listed on Schedule 1 to Exhibit A. In support of this Objection, the Litigation Administrator

submits the declaration of Kenneth Ehrler, a Managing Director at M3 Advisory Partners, LP (the

“Ehrler Declaration”), attached hereto as Exhibit B.



2   Capitalized terms used but not defined in this Objection shall have the meanings given to such terms in the (a)
    Order (I) Approving (A) Omnibus Claims Objection Procedures, (B) Omnibus Substantive Claims Objections and
    Form of Notice, and (C) Satisfaction Procedures and Form of Notice and (II) Modifying Bankruptcy Rule
    3007(e)(6) [Docket No. 2090] (the “Objection Procedures Order”); or (b) Modified Joint Chapter 11 Plan of
    Reorganization of Celsius Network LLC and its Debtor Affiliates (Modified for MiningCo Transaction) [Docket
    No. 4289] (as amended, supplemented, or modified from time to time, the “Plan”).


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                                           Jurisdiction and Venue

        2.       The United States Bankruptcy Court for the Southern District of New York (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the Southern District of

New York, dated February 1, 2012. The Litigation Administrator confirms his consent, pursuant

to Bankruptcy Rule 7008, to the entry of a final order or judgment by the Court in connection with

this Objection to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments in connection herewith consistent with Article III of the

United States Constitution.

        3.       Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.       The bases for the relief requested herein are Sections 105 and 502(b) of title 11 of

the United States Code (the “Bankruptcy Code”), Rule 3007 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and the Objection Procedures Order.

                                      Claims Reconciliation Process

        5.       On October 5, 2022, all Debtors except for GK8 Ltd., GK8 UK, and GK8 USA

LLC (collectively, the “GK8 Debtors”)3 filed their respective schedules of assets and liabilities

[Docket No. 974] (as amended from time to time, the “Schedules”) pursuant to Bankruptcy Rule

1007 and the orders extending time to file schedules of assets and liabilities [Docket Nos. 57 and

431].

        6.       On November 16, 2022, the Court entered an order [Docket No. 1368] (the “Bar

Date Order”) establishing January 3, 2023, at 5:00 p.m., prevailing Eastern Time (the “Bar Date”),




3   The GK8 Debtors, who filed their respective voluntary petitions for protection under chapter 11 of the Bankruptcy
    Code on December 7, 2022, filed their respective schedules on January 20, 2023, in their respective cases.


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as the last date and time for most retail Account Holders to file proofs of claim based on prepetition

claims (collectively, the “Proofs of Claim”) against any Debtor other than the GK8 Debtors, and

January 10, 2023, at 5:00 p.m., prevailing Eastern Time (the “Governmental Bar Date”), as the last

date and time for each governmental unit to file Proofs of Claim against any Debtor other than the

GK8 Debtors. On January 10, 2023, the Court entered an order [Docket No. 1846] (the “Amended

Bar Date Order”) extending both the Bar Date and the Governmental Bar Date to February 9, 2023,

at 5:00 p.m., prevailing Eastern Time (the “Extended Bar Date”). To date, no bar date has been

set as to claims against the GK8 Debtors.

       7.      Following entry of the Memorandum Opinion Regarding Which Debtor Entities

Have Liability for Customer Claims Under the Terms of Use [Docket No. 2205] (the “Customer

Claims Opinion”) on March 9, 2023, the Debtors extended the general claims bar date to April 28,

2023 for any claim affected by the amendment of the Schedules and Statements pursuant to the

Customer Claims Opinion (the “Affected Account Holder Claims”). See Docket No. 2310. On

April 18, 2023, the Court entered an order authorizing the Committee to file the Class Claim (as

defined below) and to seek certification of the class of all account holders under Bankruptcy Rule

7023. Docket No. 2496 (the “Class Claim Order”). The Class Claim Order provided that “the bar

date for claims set forth in the Notice of Amended Bar Date for Submission of Proofs of Claim . .

. is tolled pending an order of the Court with respect to the certification of the putative class under

Bankruptcy Rule 7023.” On July 21, 2023, the Court entered an order establishing August 2, 2023

at 5:00 p.m., prevailing Eastern Time, as the final bar date for Affected Account Holder Claims.

See Docket No. 3066.




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       8.      In the ordinary course of business, the Debtors maintained books and records (the

“Books and Records”) that reflect, among other things, the nature and amount of the Debtors’

liabilities and amounts owed to their creditors.

       9.      The claims register for the Chapter 11 Cases (the “Claims Register”), prepared and

maintained by Stretto, shows that, as of the filing of this Objection, approximately 33,598 Proofs

of Claim have been filed against the Debtors, totaling approximately $216,348,684,029,836,000.

Due to the large number of claims in these Chapter 11 Cases, the Debtors sought and have been

granted approval to file omnibus objections to certain claims in accordance with the procedures

set forth in the Objection Procedures Order.

       10.     On February 19, 2023, the Debtors filed their first omnibus objection to certain

claims, which was subsequently sustained by the Court. See Docket Nos. 2103, 2288.

       11.     On August 14, 2023, the Court entered the Order (I) Approving the Settlement By

and Among the Debtors and the Committee with Respect to the Committee Class Claim and (II)

Granting Related Relief [Docket No. 3288] (the “Class Claim Settlement”), which provided a

comprehensive resolution of Proof of Claim No. 29046 (the “Class Claim”) filed by the

Committee. The Class Claim asserted various non-contract claims against certain Debtor entities.

The Class Claim Settlement resolved non-contractual claims for account holders that did not opt

out of the Class Claim Settlement, thus, resolving all or part of numerous Proofs of Claim related

thereto.

       12.     On March 21, 2023, the Court entered the Order (I) Approving (A) the Settlement

By and Among the Debtors, the Committee, and the Custody Ad Hoc Group and (B) the Election

Form and (II) Granting Related Relief [Docket No. 2291] (the “Custody Settlement”), which




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resolved outstanding claims related to Custody accounts for account holders that did not opt out

of the Custody Settlement, thus, resolving all or part of numerous Proofs of Claim related thereto.

        13.      On November 9, 2023, the Court entered the Findings of Fact, Conclusions of Law,

and Order Confirming the Modified Joint Chapter 11 Plan of Celsius Network LLC and its Debtor

Affiliates [Docket No. 3972] (the “Confirmation Order”), pursuant to which the Court approved

and confirmed the Plan. The Confirmation Order provides, in relevant part:

        The Litigation Administrator may take such actions as the Litigation Administrator
        may determine to be necessary or desirable to carry out the purposes of the Plan.
        The Litigation Administrator shall have the authority to prosecute, settle, or
        otherwise resolve, without limitation, all Disputed Claims remaining as of the
        Effective Date (including any related Causes of Action that are not released,
        waived, settled, or compromised pursuant to the Plan). . . . The Litigation
        Administrator shall serve as a representative of the Estates under section 1123(b)
        of the Bankruptcy Code for the purpose of collecting Recovery Causes of Action
        and enforcing Causes of Action belonging to the Estates related to Disputed Claims
        or Disputed Interests that are not released, waived, settled, compromised, or
        transferred pursuant to the Plan (including, for the avoidance of doubt, the
        Recovery Causes of Action, objections to Claims, and any other Causes of Action
        agreed to by the Plan Administrator and the Litigation Administrator).

Confirmation Order, ¶ 298; see Plan, Art. IV.G.1. (containing language substantially similar to ¶

298 of the Confirmation Order) (emphasis added).

        14.      Furthermore, the Plan and the Confirmation Order make clear that, among other

things, (a) the responsibilities of the Litigation Administrator include, without limitation, filing

and prosecuting any objections to Claims or Interests or settling or otherwise compromising such

Claims and Interests in accordance with the Plan and any applicable orders of the Court [see Plan,

Art. IV.G.2.]; and (b) the Litigation Administrator, on behalf of the Post-Effective Date Debtors,

specifically retain and reserve the right to assert any and all Causes of Action 4 and related rights.



4   Under the Plan, “Causes of Action” encompass, among other things, “the right to object to or otherwise contest,
    recharacterize, reclassify, subordinate, or disallow Claims and Interests[.]” Plan, Art. I.A.34.


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See Confirmation Order, ¶ 296. In other words, the Litigation Administrator, pursuant to the Plan,

the Confirmation Order, and the Litigation Administrator Agreement, steps in the shoes of the

Post-Effective Date Debtors to serve as the duly-appointed representative of the Estates for certain

limited purposes.

         15.   Accordingly, to further the claims reconciliation process, the Litigation

Administrator seeks approval to disallow and expunge the No Liability Claims in accordance with

the Plan, the Confirmation Order, and the Objection Procedures Order for the reasons set forth

below.

                                              Objection

         16.   Pursuant to section 502(a) of the Bankruptcy Code, a filed proof of claim is deemed

allowed unless a party in interest objects thereto. See 11 U.S.C. § 502(a). Bankruptcy Rule 3007

provides certain grounds upon which “objections to more than one claim may be joined in an

omnibus objection.” Bankruptcy Rule 3007(d). The Objection Procedures Order expands upon

Bankruptcy Rule 3007(d) and permits the Debtors to file an omnibus objection on additional

grounds.

         17.   When asserting a proof of claim against a bankruptcy estate, a claimant must allege

facts that, if true, would support a finding that the debtor is legally liable to the claimant. In re

Avaya, Inc., 608 B.R. 366, 369-70 (Bankr. S.D.N.Y. 2019). Where the claimant alleges sufficient

facts to support its claim, its claim is afforded prima facie validity. See id.

         18.   A party objecting to a proof of claim must only provide evidence sufficient to

negate the prima facie validity of the claim by refuting one or more of the allegations in the filed

claim. See In re Arcapita Bank, 2013 WL 6141616, at *3 (Bankr. S.D.N.Y. Nov. 21, 2013)

(granting the debtors’ objection after the debtors came forward with evidence sufficient to refute

a claim’s validity) (citing In re Oneida, Ltd., 400 B.R. 384, 389 (Bankr. S.D.N.Y. 2009)). Once
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this occurs, the burden shifts back to the claimant to prove the validity of the claim by a

“preponderance of the evidence.” See In re Residential Capital, LLC, 2014 WL 3511198, at *3

(Bankr. S.D.N.Y. July 15, 2014) (sustaining the objection where the claimant’s allegations related

to the conduct of non-debtors) (quoting Creamer v. Motors Liquidation Co. GUC Trust (In re

Motors Liquidation Co.), 2013 U.S. Dist. LEXIS 143957, at *12–13 (S.D.N.Y. Sept. 26, 2013)).

        19.      The claimant must prove the claim, not sit back while the objector attempts to

disprove it. See In re Bennett, 83 B.R. 248, 252 (Bankr. S.D.N.Y. 1988) (holding that debtor

presented sufficient evidence to rebut the prima facie validity of claimant’s claim and that claimant

failed to prove the claim by a preponderance of credible evidence).

        20.      Pursuant to Bankruptcy Rule 3007 and the Objection Procedures Order (as well as

the powers granted to the Litigation Administrator under the Plan, the Confirmation Order, and

the Litigation Administrator Agreement), the Litigation Administrator files this Objection to the

19 No Liability Claims listed on Schedule 1 to Exhibit A because the Litigation Administrator

has determined, based upon a review and analysis of the No Liability Claims and a review of the

Debtors’ Books and Records, that the Debtors do not have any liability with respect to the No

Liability Claims based on the Claim language and/or supporting documentation. The Litigation

Administrator, therefore, seeks to disallow and expunge the No Liability Claims in their entirety. 5

        21.      Failure to disallow and expunge the No Liability Claims in their entirety would

result in an unwarranted recovery against the Estates, to the detriment of other creditors.

Disallowance and expungement of these No Liability Claims will provide for a Claims Register


5   To the extent that any of the claimants provide additional documentation with respect to the No Liability Claims
    in response to this Objection, the Litigation Administrator reserves all rights to contest that such additional
    documentation should not be permitted, and the claim should be disallowed, as the claimant failed to meet its
    burden in a timely manner. To the extent, however, that any of the additional documentation is provided and the
    claim is held to constitute a timely filed proof of claim that is prima facie valid, the Litigation Administrator
    reserves all rights to further object to the proof of claim on any grounds permitted under applicable law.


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that accurately reflects the Proofs of Claim asserted against the Debtors. Accordingly, the

Litigation Administrator respectfully requests that the Court disallow and expunge the No Liability

Claims from the Claims Register.

              Compliance with the Objection Procedures and the Bankruptcy Rules

        22.      The Litigation Administrator respectfully submits that the content of this Objection

is in full compliance with the Bankruptcy Rules and the Objection Procedures Order for the

following reasons:

                 (a)      This Objection conspicuously states on the first page the following
                          (emphasis original): “YOU SHOULD LOCATE YOUR NAME AND
                          YOUR CLAIM(S) ON THE SCHEDULE ATTACHED TO EXHIBIT
                          A HERETO. PLEASE TAKE NOTICE THAT YOUR CLAIM(S)
                          MAY BE DISALLOWED, EXPUNGED, RECLASSIFIED,
                          REDUCED, MODIFIED, OR OTHERWISE AFFECTED AS A
                          RESULT OF THIS OBJECTION. THEREFORE, PLEASE READ
                          THIS NOTICE AND THE ACCOMPANYING OBJECTION VERY
                          CAREFULLY AND DISCUSS THEM WITH YOUR ATTORNEY. IF
                          YOU DO NOT HAVE AN ATTORNEY, YOU MAY WISH TO
                          CONSULT ONE”;6

                 (b)      This Objection states the title and identity of the objecting party (the
                          Litigation Administrator) and states the grounds for the Objection; 7

                 (c)      Pursuant to the Bankruptcy Rules and the Objection Procedures Order (and
                          the powers granted to the Litigation Administrator under the Plan, the
                          Confirmation Order, and the Litigation Administrator Agreement), the
                          Litigation Administrator is authorized to file this Objection on the grounds
                          that:

                          i.       the claims are inconsistent with the Debtors’ Books and Records; 8

                          ii.      the claims fail to specify sufficiently the basis for or provide
                                   sufficient supporting documentation to justify recovery of any




6   See Fed. R. Bankr. P. 3007(e)(1).
7   See Fed. R. Bankr. P. 3007(e)(4).
8   See Objection Procedures Order, Ex. 1, ¶ 1.a.


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                                    amounts inconsistent with the Debtors’ Schedules and Books and
                                    Records;9 and

                           iii.     The No Liability Claims seek to recover amounts for which the
                                    Debtors are not liable.10

                  (d)      The schedule to Exhibit A includes only the claims to which there is a
                           common basis for in the Objection;11

                  (e)      Such schedule states the grounds for objecting to each claim and provides a
                           cross-reference to the pages in the Objection pertinent to the stated
                           grounds;12

                  (f)      Claimants subject to this Objection are listed in alphabetical order by
                           claimant name;13

                  (g)      The Objection is numbered consecutively with other omnibus objections
                           that will be filed by the Litigation Administrator;14 and

                  (h)      The Objection contains no more than 250 claims. 15

         23.      The Litigation Administrator further submits that notice and service of this

Objection will be in full compliance with the Bankruptcy Rules for the following reasons:

                  (a)      The Objection will be filed with the Court and served upon (i) the affected
                           claimant party set forth on each Proof of Claim subject to this Objection or
                           their respective attorney of record, (ii) the United States Trustee for the
                           Southern District of New York (the “U.S. Trustee”), and (iii) parties that
                           have filed a request for service of papers under Bankruptcy Rule 2002; 16

                  (b)      With respect to service on claimants affected by this Objection, the
                           Litigation Administrator will also serve each affected claimant with an


9    See Objection Procedures Order, Ex. 1, ¶ 1.d.
10   See Objection Procedures Order, Ex. 1, ¶ 1.e.
11   See Fed. R. Bankr. P. 3007(e)(2).
12   See Fed. R. Bankr. P. 3007(e)(3).
13   See Objection Procedures Order, Ex. 1, ¶ 4; Fed. R. Bankr. P. 3007(e)(2).
14   See Fed. R. Bankr. P. 3007(e)(5).
15   See Objection Procedures Order, ¶ 3.
16   See Fed. R. Bankr. P. 2002, 3007(a).


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                           objection notice to address the particular creditor, claim, and objection; 17
                           and

                  (c)      This Objection will be set for hearing at least 30 days after the filing of this
                           Objection.18

                                            Reservation of Rights

         24.      The Litigation Administrator expressly reserves the right to amend, modify, or

supplement this Objection, and to file additional objections to any other claims that may be asserted

against the Debtors and their Estates. Accordingly, it is without prejudice to the rights of the

Litigation Administrator or any other party in interest to object to any of the claims listed on

Schedule 1 to Exhibit A on any grounds whatsoever, and the Litigation Administrator expressly

reserves all further substantive or procedural objections he may have.                    The Litigation

Administrator further reserves the right to seek an adjournment of the Hearing on any response to

this Objection, which adjournment will be noted on the notice of agenda for the Hearing. The

agenda will be served on the person designated by the claimant in its response.

         25.      Notwithstanding anything contained in this Objection, or the exhibits and schedules

attached hereto, nothing herein will be construed as a waiver of any rights that the Litigation

Administrator may have to enforce rights of setoff against the claimants.

                                                   Motion Practice

         26.      This Objection includes citations to the applicable rules and statutory authorities

upon which the relief requested herein is predicated and a discussion of its application to this

motion. Accordingly, the Litigation Administrator submits that this Objection satisfies Local Rule

9013-1(a).



17   See Objection Procedures Order, Ex. 1, ¶ 5.
18   See Fed. R. Bankr. P. 3007(a).


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                                               Notice

       27.     The Litigation Administrator will provide notice of this Objection to the following

parties or their respective counsel: (a) the U.S. Trustee; (b) counsel to the Post-Effective Date

Debtors; (c) the United States Attorney’s Office for the Southern District of New York; (d) the

Internal Revenue Service; (e) the offices of the attorneys general in the states in which the Debtors

operate; (f) the Securities and Exchange Commission; (g) the holders of the claims identified on

Schedule 1 of Exhibit A; and (h) any party that has requested notice pursuant to Bankruptcy Rule

2002. The Litigation Administrator submits that, in light of the nature of the relief requested, no

other or further notice need be given.

                                         No Prior Request

       28.     No prior request for the relief sought in this Objection has been made to this or any

other court.


                           [Remainder of page intentionally left blank]




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          WHEREFORE, the Litigation Administrator respectfully requests that the Court enter the

 Order granting the relief requested herein and such other relief as the Court deems appropriate

 under the circumstances.

New York, New York
Dated: December 3, 2024

                                                 /s/ Seth H. Lieberman
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